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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


  WAPP TECH LIMITED PARTNERSHIP
  and WAPP TECH CORP.,

                    Plaintiffs,
           v.                                                Case No. 4:18-cv-0519-ALM

  BANK OF AMERICA, N.A.,                                     JURY TRIAL DEMANDED

                    Defendant.




                       ORDER GRANTING UNOPPOSED MOTION TO STAY

           Pending before the Court is Defendant Bank of America, N.A.’s Motion to Stay (Dkt.

  #134).        The Motion was previously opposed, however Plaintiffs Wapp Tech Limited

  Partnership and Wapp Tech Corp. have now filed a Notice of Non-Opposition (Dkt. #155) and

  withdrew their Opposition (Dkt. #139) and Sur-Reply (Dkt. #153). As a result, the Motion to

  Stay is now unopposed.

           Having reviewed the submissions of the parties, the Court finds that the Motion should

. be GRANTED (Dkt. #134).
           It is therefore ORDERED that the above-captioned action is STAYED pending resolution

  of Case No. 4:18-cv-00469 also pending before this Court and further order of this Court.

           IT IS SO ORDERED.

           SIGNED this 17th day of November, 2020.




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                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
